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8                                  UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11
12   UNITED STATES OF AMERICA,                    )       Criminal Number: 05-0375 SI
                                                  )
13           Plaintiff,                           )
                                                  )       STIPULATION AND [PROPOSED]
14      v.                                        )       ORDER TO EXTEND THE MOTIONS
                                                  )       BRIEFING SCHEDULE
15   MINHO THOMAS CHO                             )
                                                  )
16           Defendant.                           )
                                                  )
17
18
19           Since September 11, 2006, the Government has received fifteen substantive pre-trial
20   motions from counsel for defendant Minho Cho and co-defendants David Lee, Edward Park,
21   Richard Wong, Darrick Hom, Jay Chen, and Enrique Chan. The Government is to file its
22   opposition papers by Friday, October 6, 2006, and the defendants are to file any reply to the
23   Government’s opposition papers by Friday, October 13, 2006. A hearing on all of the motions is
24   scheduled for October 27, 2006.
25           During the week of September 11, 2006, AUSA Alexis Hunter joined this case to assist
26   AUSA Andrew Scoble in its prosecution. Since that time, she has been making efforts to
27   familiarize herself with the case. AUSA Hunter and AUSA Scoble have also been investigating
28   the claims underlying the defendants’ motions and preparing opposition papers. Over the past

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1    week and a half AUSA Hunter has been sick with cold/flu-like symptoms and has been “in and
2    out” of the office on sick leave and for doctor’s appointments. For such reason, AUSA Hunter
3    requires additional time to prepare the Government’s opposition to defendant Cho’s motion to
4    suppress evidence seized from three properties pursuant to state search warrants.
5           The Government requests a one-week extension of the October 6th filing date to file its
6    opposition papers to Defendant Cho’s motion. AUSA Hunter has spoken with co-counsel for
7    defendant Cho, Ms. Anne Marie Tomassini, about the Government’s request to revise the
8    motions briefing schedule and was advised that the defense has no objection to the Government’s
9    request.
10          The parties now agree that the Government will file its opposition papers to the
11   defendant’s motion by Friday, October 13, 2006. The defendant will file any reply to the
12   Government’s opposition by Wednesday, October 18, 2006. The motions hearing date will
13   remain at October 27, 2006.
14   IT IS SO STIPULATED.
15
16   DATED:                                                        /s/ Anne Marie Tomassini
                                                          RANDOLPH DAAR
17                                                        ANNE MARIE TOMASSINI
                                                          Attorneys for Defendant Minho Cho
18
19   DATED:                                                        /s/ Alexis Hunter
                                                          ANDREW M. SCOBLE
20                                                        ALEXIS HUNTER
                                                          Assistant United States Attorneys
21
22   PURSUANT TO STIPULATION, IT IS SO ORDERED:
23          1.      That the government’s opposition papers shall be filed by October 13, 2006, and
                    the defendants’ reply papers shall be filed by October 18, 2006.
24
25          2.      That the hearing date in this case shall remain at October 27, 2006.
26
27   DATED:                                               ___________________________
                                                          SUSAN ILLSTON
28                                                        United States District Court Judge

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1                                       CERTIFICATE OF SERVICE
2           The undersigned hereby certifies that she is an employee of the office of the United States
3    Attorney, Criminal Division, Northern District of California and is a person of such age and
4    discretion to be competent to serve papers. The undersigned further certifies that she caused
5    copies of the STIPULATION AND [PROPOSED] ORDER TO EXTEND THE MOTIONS
6    BRIEFING SCHEDULE, in the case of United States v. Minho Thomas Cho, CR 05-0375 SI, to
7    be served this date upon the persons below:
8
9    By Facsimile to (415) 421-1331
10   Mr. Randolph Daar
     Anne Marie Tomassini
11   Pier 5 Law Offices
     506 Broadway
12   San Francisco, CA 94133
13
14          I certify under penalty of perjury that the foregoing is true and correct. Executed on
15   October 4, 2006 at San Francisco, California
16
17                                                        ________/s/________________
                                                          ALEXIS HUNTER
18                                                        Assistant U.S. Attorney
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